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 6
     Attorneys for the Plaintiff
 7   United States of America

 8                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                 ) Case No.: 18cr089-LAB
10                                             )
                         Plaintiff,            )
11           vs.                               ) MOTION FOR PROTECTIVE
                                               ) ORDER
12   SETHA JOE SOUNTHONPHOM,                   )
                                               )
                         Defendant.            )
13                                             )
14
             1.    Pursuant to the Federal Rule of Criminal Procedures 16(d)(1), and
15   General Order No. 514 of the United States District Court for the Southern District

16   of California (“General Order No. 514") pertaining to privacy matters, the United
     States hereby makes a motion for a protective order for the following reasons.
17
             A copy of the proposed Protective Order is being provided to the court via e-
18   mail.

19           2.    The Defendant in the above captioned case is charged in a complaint
     with bank fraud and possession of stolen mail. The discovery that the United States
20
     is producing contains voluminous amounts of personal information, including
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 1   banking account numbers, addresses, phone numbers and other personal information
 2   of those individuals who have been the victims of mail theft, bank fraud and identity
     theft as well as miscellaneous financial information.
 3
           3.     In order to produce discovery, which the defense is entitled too, the
 4   United States is seeking a protective order which will govern all discovery produced
 5   in the above entitled case. Further, we are requesting that all discovery produced by
     the United States be restricted to the defense team and only be shared with the
 6
     Defendant in the company of a defense team member. And that the defense be
 7   ordered not to provide to the Defendant a copy of any discovery produced by the
 8   United States which contains personal identifying information (PII).
           4.     Accordingly, to enable the production of these materials forthwith and
 9
     to enable the case against Defendant to proceed as soon as possible, the United States
10   asks the Court to enter the proposed Protective Order. A copy of the proposed
11   Protective Order is being provided to the court via e-mail.

12
     DATED: January 12, 2018
13
                                               Respectfully submitted,
14
                                               ADAM L. BRAVERMAN
                                               United States Attorney
15
                                               s/ Timothy D. Coughlin
16                                             TIMOTHY D. COUGHLIN
                                               Assistant United States Attorney
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 1                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 2
     UNITED STATES OF AMERICA,                ) Case No.: 18cr089-LAB
                                              )
 3                      Plaintiff,            )
           vs.                                )
 4                                            ) CERTIFICATE OF SERVICE
     SETHA JOE SOUNTHONPHOM,                  )
 5                                            )
                        Defendants.           )
                                              )
 6
     IT IS HEREBY CERTIFIED THAT:
 7
           I, Timothy D. Coughlin, am a citizen of the United States and am at least
 8   eighteen years of age. My business address is 880 Front Street, Room 6293, San
     Diego, California 92101.
 9
            I have caused service of the Motion for Protective Order on the following
     parties by electronically filing the foregoing with the Clerk of the District Court
10   using its ECF System, which electronically notifies them, and/or by email at the
     email address registered to them with the ECF System:
11
           Aron Lee Israelite
12
           I declare under penalty of perjury that the foregoing is true and correct.
13
     DATED: January 12, 2018                       s/ Timothy D. Coughlin
14                                                 TIMOTHY D. COUGHLIN
                                                   Assistant United States Attorney
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